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Claimant ID:
Claimant: Nuomaker
Claim Group Detail:

Date Employee Billing Rate Hours Total Activity
| = 9/14/12 Tom $ 110 20.00 | $ 2,200 |Analysis/Prep
|__ = 9/14/13 JJ $ 110 35,00 | $ 3,850 | Analysis/Prep
9/10/12 -9/15/12 [Reade $ 110 10.00 | $ 1,100 |Analysis/Prep
9/20/2012 Patrick $ 160 3.00 | $ 480 |Review
9/21/2012 Tom $ 160 2.00 | $ 320 [Review
Total 70.00 | $ 7,950

